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EXHIBIT A
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       STATE   OF NEW YORK
       SUPREME    COURT   :                                            COUNTY                      OF ERIE

       JOHN              BUSALACHI                                                                                                                                SUMMONS
       1530          Eggert           Road
       Amherst,                 New        York           14226,                                                                      IMMEDIATELY    TURN                                     THESE
                                                                                                                                      PAPERSOVERTOYOUR
                                                              Plaintiff,                                                              INSURANCE       REPRESENTATIVE.
       -     vs      -                                                                                                                YOUR    FAILURE     TO DO THIS
                                                                                                                                      MAY SUBJECT        YOU TO PERSONAL
       WALMART                         INC.                                                                                           FINANCIAL      RESPONSIBILITY    IN
       28     Liberty            Street                                                                                               THIS         MATTER.
       New           York,           New      York              10005


       WALMART                         INC.            F/K/A                                                                          Index        No.:
       WAL-MART                       STORES,                        INC.                                                             Date       Filed:
       28     Liberty            Street
       New           York,           New      York              10005


       WAL-MART                       ASSOCIATES,                             INC.
       28     Liberty            Street
       New           York,           New      York             10005


       WAL-MART                         STORES                    EAST,          LP
       28     Liberty            Street
       New           York,           New      York             10005


       WAL-MART                         REAL                  ESTATE             BUSINESS                        TRUST
       2001          SE      10• Street

       Bentonville,                   Arkansas                 72712-6489


       WAL-MART                         STORES                    EAST,          INC.
       28     Liberty            Street
       New          York,            New      York             10005


       WAL-MART                         REALTY                     COMPANY
       28     Liberty            Street
       New          York,            New      York             10005




                                                          Defendants.


       TO THE                   ABOVE                  NAMED                DEFENDANTS:

                         YOU           ARE             HEREBY                 SUMMONED                                to Answer              the    Complaint                in    this     action,              and     to serve        a copy

       of    your         Answer,                or,     if    the      Summons                    is not        served        with     a Complaint,               to        serve        a Notice               of     Appearance,              on

       the        Plaintiff's           attorneys                 within         20      days            after     the    service           of   this     Summons,                exclusive             of       the     day    of    service,

       or    within             30    days        after         completion                   of     service           where       service          is made        in    any         other      manner                  than    by    personal


       delivery             within         the         State.         In    case        of        your      failure       to appear              or Answer,            Judgment               will          be taken           against      you


       by     default           for    the       relief          demanded                in the           Complaint.



                         COMPLAINT                              ENDORSEMENT:                                      That        Plaintiff's           Complaint                against          you           is    in    the    amount           of:

       see        WHEREFORE                                   clauses       of        Plaintiff's                Complaint,            together            with        the        costs      of      this         action       based       on         a

       cause          of action            for         negligence            and         others.




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                 Erie     County    is designated   as the   place     of     trial        on     basis    of     residence   of   the   Plaintiff   who   resides   in

        West   Seneca,       New   York.



        DATED:          February   22,     2021
                        Buffalo,   New      York                     Josepl           A.    Todoro,            Esq.
                                                                     SPADAFORA                        & VERRASTRO,                 LLP
                                                                     Attorneys              for    Plaintiff
                                                                     2 Symphony                   Circle
                                                                     Buffalo,              New      York        14201-1340
                                                                     (716)       854-1111




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         STATE   OF NEW YORK
         SUPREME    COURT  : COUNTY                                                          OF ERIE



         JOHN               BUSALACHI,
                                                                                                                                                                                       COMPLAINT
                                                                                              Plaintiff,

         -     vs     -                                                                                                                                                                 Index          No.


             WALMART                        INC.,
             WALMART                        INC.         F/K/A          WAL-MART                           STORES,                    INC.,
             WAL-MART                        ASSOCIATES,     INC.,
             WAL-MART                        STORES    EAST,   LP,
             WAL-MART                        REAL   ESTATE    BUSINESS                                              TRUST,
             WAL-MART                        STORES    EAST,   INC., and
             WAL-MART                        REALTY     COMPANY.


                                                                                             Defendants




                      The          Plaintiff,            above-named,                         for      his         Complaint                  against           the     Defendants,                     by      and          through           his


         attorneys,                SPADAFORA                              &       VERRASTRO                              LLP,          herein           states         upon            information                    and          belief,       as

         follows:




                       l.              That         each         and          every          cause           of     action            set     forth      herein          falls          within          one          or     more         of    the

         exceptions                 set forth            in     CPLR              1602.       That         this         action         and       all    claims          set     forth         herein          fall        within        one      or

         more         of     the      exceptions                 set      forth       in     Article              16 of      the       CPLR            and/or         as set       forth         in CPLR                   §1602        and/or

         the        aforesaid            provisions                of      said       Article            do        not      apply           to   the     within              action.          That           this         action       and     all

         claims             set     forth        herein           falls           within         one         or      more          exceptions               set        forth       in      CPLR               §1602;               §1602(7);

         §l602(11)                 and       §l601,           as to        limitations                 to the        doctrine               of joint      and         several           liability.




                      2.               That         at all        times           mentioned,                  the        Plaintiff,           JOHN          BUSALACHI,                               hereinafter               referred          to

         as "Plaintiff",                  was       and         continues              to be a resident                       of the          County        of        Erie      and       State        of     New           York.




                      3.               That         at    all     times             hereinafter                   mentioned,                  upon       information                    and       belief,            the      Defendant,

         WALMART                         INC.,        is a successor                       in interest             of     Defendant,                   WAL-MART                        STORES,                INC.




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                      4.                   That             at    all     times             mentioned,                   and/or           for      a considerable                         period              of     time           prior             thereto,          the

        above        listed              Defendants,                      WALMART                            INC.,           WALMART                           INC.         F/K/A             WAL-MART                                STORES,                      INC.,

        WAL-MART                            ASSOCIATES,                                       INC.,             WAL-MART                              STORES                      EAST,              LP,             WAL-MART                                     REAL

        ESTATE                  BUSINESS                           TRUST,                     WAL-MART                              STORES                   EAST,               INC.,          and           WAL-MART                                     REALTY

        COMPANY,                          hereinafter                   collectively                      referred            to as "WAL-MART",                                      was/were                  doing             business                   as and/or

        under        an         assumed                 name,                trade            and         style         as     WALMART,                          with            an       office          for            the        transaction                    of      its

        business              located            at 3290                Sheridan                  Drive,          Town           of      Amherst,               County               of    Erie       and           State           of     New             York.




                         5.                That             at all        times             mentioned,                   añd/or           for      a considerable                         period              of     time           prior             thereto,          the

          Defendants,                       WAL-MART,                                 jointly              and/or             severally,                were           and/or              continue                  to        be         at     the         present,

          domestic                  corporations                        duly          organized                   and        existing           pursuant               to     the         Laws           of        the     State            of        New          York,

          and/or              foreign            corporations                        duly          authorized                  to     conduct            business                 within           the        State            of    New              York,          with

          an       office            for        the         transaction                     of      its     business                located             at     3290           Sheridan                   Drive,                Town              of        Amherst,

          County               of        Erie      and            State         of      New           York,             and/or           in     the     alternative                    were        and/or                continue                 to        be     at the

          present,              a domestic                        limited             liability             company                   duly       organized                  and         existing               pursuant                   to     the         Laws          of

          the       State            of         New          York,              and/or              a foreign                  limited             liability            company                    duly             authorized                        to     conduct

          business               within               the        State         of      New            York,          with           an    office         for      the        transaction                      of     its       business                    located         at

          3290        Sheridan                   Drive,             Town              of      Amherst,               County              of     Erie     and          State        of     New            York.




                      6.                   That         at all            times             mentioned,                   and/or           for      a considerable                         period              of     time           prior         thereto,              the

          Defendants,                       WAL-MART,                                 jointly              and/or             severally,                were           and/or             continue                   to        be         at     the         present,

          domestic                  corporations                          and/or              a     domestic                  limited            liability            company                   duly               organized                     and         existing

          pursuant                  to     the        Laws              of      the         State          of      New           York,            and/or          foreign                 corporations                         and/or                 a domestic

          limited             liability            company,                     duly          authorized                 to conduct                   business              within          the      State           of        New             York,          with       an

          office          for       the         transaction                    of     its     business               located             at various              locations                 in      the        County                 of        Erie        and/or          in

          other          counties               located              in the           State         of      New          York.




                      7.                   That         at all            times             mentioned,                   and/or           for      a considerable                         period              of     time           prior         thereto,              the

          Defendants,                      WAL-MART,                                jointly           and/or            severally,              were         and/or              continue            to       be at the                  present,             foreign

          corporations                      not       authorized                      to      conduct             business               within          the      State           of      New        York,                 but       having                 an office

          for      the        transaction                    of     its      business                 located            at various                locations                in     the      County                  of     Erie           and/or             in    other

          counties              located               in the            State         of      New          York.




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                    8.                  Upon               information                         and            belief,             presently,                 at      all         times           mentioned,                           and/or              for         a

         considerable                   period             of     time          prior           thereto,             the      Defendants                    above             named,            by     or      through                 its     respective

         agents,          representatives,                             officers,               employees                     and/or           servants,              transacts                 business                 within           the        State            of

         New        York,          or owns,                 uses         or     possesses                 real          property              in the         State         of     New          York,           or contracts                     anywhere

         to supply            goods             or     services                in the           State          of     New         York,           or committed                        a tortuous               act       within              the     State        of

         New        York,          or     committed                       a tortuous                    act     without             the        State         of     New           York,         causing                 injury           to     person               or

         property            within             the         State         of        New            York             and      regularly                does         or      solicits            business,                 or      engages                 in     any

         other      persistent                 course             of      conduct,                 or     derives             substantial                revenues                 from          goods              used         or     consumed                   or

         services           rendered,                 in     the        State            of    New            York,          or     expects            or     should              reasonably                   expect            the         act     to       have

         consequences                      in         the         State             of         New            York            and         derives                 substantial                  revenue                  from            interstate                or

         international                  commerce,                       and         does           engage              in    a pelmanent                     course              of     conduct               of        owning,                managing,

         maintaining,                   leasing,             renting,               servicing                 various             real        properties,               including               parking                 lot     areas,          as part           of

         their      business              to         members                   of        the       general              public           within          the        State          of     New            York,             and/or              to    various

         other       states         within                the        United               States,             and       each         said         Defendant,                    derives           substantial                     revenues                    from

         goods         and        services             rendered,                    sold,        and/or             distributed                in the        State         of      New         York.




                    9.                  That         on      or        about         February                  22,        2018        and       for     a considerable                         period              of    time          prior         thereto,

         the     above            named                Defendants,                        jointly              and/or             severally,                did         own,          operate,                rent,           control,              possess,

         maintain,            manage,                  lease            property,                  lease            retail        space,          inspect,              repair          and/or            service                the         property             or

         portions            of         same,             located              at        3290            Sheridan                  Drive,             Amherst,                  New            York            14226,                 said          property

         consisting               of,     and          without                 limitation                 thereto,             a retail            type           building,               and/or            areas             adjacent               thereto,

         hereinafter              collectively                     referred               to as the                 "PREMISES".




                    10.                 That         on      or        about         February                  22,        2018        and       for     a considerable                         period              of    time          prior         thereto,

         the     above            named              Defendants,                         jointly              and/or          severally,               were             operating               retail          businesses                      under           the

         trade      name           or    style         of       WALMART                              at the         "PREMISES.




                    11.                 That          on        or       about                February                22,        2018,          the         above             named             Defendants,                          jointly             and/or

         severally,           were              in     possession                     and          control              of    all        or    a portion                 of      said        PREMISES                          located              at        3290

         Sheridan            Drive,             Amherst,                  New             York           14226,              as owners                and/or            under           a lease          or        other         agreement,                     and

         did     operate           businesses                     in    and         on        said      premises                  wherein             they        did      offer         for     sale         and/or             did         sell    various

         types       of      merchandise                        to      members                    of    the         general             public         and         the         Plaintiff,            JOHN                 BUSALACHI,                                in

         particular,           under             the       trade          name            or style             of     WALMART,                         at the           "PREMISES.




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                      12.            That            on      or   about            February                   22,         2018        and        for          a considerable                      period             of       time         prior         thereto,

         the       above-named                     Defendants,                     jointly           and/or                severally,                did        owe        to      the      members                  of       the        general              public

         and        the      Plaintiff,                JOHN             BUSALACHI,                                   in     particular,                   a    non-delegable                          duty           to       maintain                   said      the

         designated                elevated                WAL-MART                           checkout                    counter              and        cashier             aisles,           which              at all          times         hereinafter

         mentioned                 include                 the    designated                      turnstile                 bagging               areas,              located              on        said          PREMISES                         in        a safe

         condition,               free        from         defects,           hazards               or dangerous/unsafe                                       conditions.




                      13.            That            on      or   about            February                   22,         2018        and        for          a considerable                      period             of       time         prior         thereto,

         the       above          named              Defendants,                   jointly               and/or             severally,                 did          also        have         a non-delegable                               duty          to     warn

         the        public          in        general,            and          the          Plaintiff,                    JOHN             BUSALACHI,                                 in     particular,                      of        any        defective,

         hazardous                and/or             dangerous/unsafe                               conditions                      as     the         same            did         exist        on        said           designated                     elevated

         WAL-MART                          checkout               counter              and         cashier                 aisles,         which               at all         times          hereinafter                      mentioned                   include

         the       designated                 turnstile           bagging              areas,             located                at said          PREMISES,                          of      which            it     knew,               or through               the

         exercise            of    due        diligence                should          have          known.




                      14.            That            prior        to        and/or           on     or        about           February                  22,         2018           the      said        Plaintiff,                  was        legally            and

         lawfully            on the           WAL-MART                          PREMISES                             of    the      above-named                          Defendants,                    jointly               and/or           severally.




                      15.            That            on      or    about             February                  22,         2018,           and         prior           thereto,             the       above               named               Defendants,

         jointly          and/or          severally,               by        and      through                  its        agents,          servants                  and/or          employees                      did        invite          the        general

         public,          and       this        Plaintiff              in     particular                 to      enter           in      and         on        said        WAL-MART                             PREMISES                           located             at

         3290        Sheridan                 Drive,         Amherst,                New            York              14226,             for     the          purpose            among               others           of       buying              goods         and

         merchandise                     offered            for    sale,        and          to    use        the         designated                    cashier's                lanes          for       the       purposes                  of     checking

         out       and/or         paying             for     goods           purchased                   therein.




                      16.            That            on      or   about            February                   22,         2018,           the     said             Plaintiff,              entered           in      and           on      the       aforesaid

         PREMISES                    located               at 3290            Sheridan                   Drive,             Amherst,                   New           York           14226,            for          the        purpose              of     buying

         goods         and        merchandise                     offered             for         sale        within             said          PREMISES                       by      one       or     more              of    the        above           named

         Defendants,                 and         was         in   a designated                       cashier                aisle        for      the         sole         purpose              of    checking                     out     the          intended

         items        he     was         to     be         purchasing,                 and          Plaintiff                had         at all        times            properly                and       safely              placed             said          items

         Plaintiff           intended              to purchase,                    which            included                 a container                      of     liquid         cleaning                solution,                onto          the WAL-

         MART               designated                 elevated               checkout                counter                 at the            designated                    cashier             aisle         where               the       cashier            was

         located.




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                     17.              That           on     or      about         February               22,        2018,           the     said       Plaintiff,               entered              in       and          on     the     aforesaid

         PREMISES                     located             at 3290              Sheridan               Drive,            Amherst,                New       York             14226,             for         the        purpose             of     buying

         goods        and           merchandise                    offered            for      sale     within              said      PREMISES                      by     one         or     more              of     the        above         named

         Defendants,                  and        was          waiting             at        the      WAL-MART                            elevated            checkout                  counter                  area            for     said         items

         intended              to     be        purchased                 to     be         handled,               moved,                scanned             and         the       bagged                  by        the         WAL-MART

         employee                 cashier             when           the         cashier              caused,             without               warning             to         Plaintiff,                 a     container                 of        liquid

         cleaning            solution,               to be         knocked              off,      pushed             off,          and/or         to fall      off         and         from          the        elevated                designated

         WAL-MART                          checkout                counter            to the         ground             below.




                     18.              That           said         WAL-MART                        designated                   employee                cashier            was          an     adult             male,            the     true        name

         and      identity           of     said       cashier            is presently                 unknown                   to Plaintiff.




                     19.              That           the          WAL-MART                            employee                   cashier            was        hired             by         and/or               employed                      by         said

         Defendants,                  jointly             and/or           severally,                 and         was       at     all      pertinent              times          acting              as        their           agent,          servant

         and/or       employee.




                    20.               That           on     or     about         February               22,        2018,            the     WAL-MART                            employee                      cashier             was         assigned

         a designated                  cashier              aisle         and     designated                   elevated              checkout                counter              to     perform                     his     assigned                work

         duties       and         responsibilities,                       which             included              without            out        limitation           as to            the      customer                    items              intended

         to be purchased,                       to    safely,           properly               and     /or        appropriately                   move,        handle,                 scan          and         bag        said        items         after

         the      same         have          been           placed             onto         the   elevated               designated                 checkout                counter                 moving                 belt        surface,             by

         said     Plaintiff.




                     21.               That          on      or     about         February               22,       2018,            the      WAL-MART                           employee                      cashier             was         hired         by

         and/or       employed                   by         said     Defendants,                     jointly            and/or            severally,           and         was          at     all        pertinent                   times         acting

         within       the         scope         and       duties          of     his    employment                       as a       WAL-MART                         designated                      cashier.




                    22.               That           on      or     about         February                  22,     2018,                said      WAL-MART                            employee                      cashier             was         at     all

         pertinent           times           wholly               and      solely           responsible                  for       the      movement                 of,       scanning                   of,        removal              of     and/or


         bagging             of      all    items            to      be     purchased,                  once            they         have          been       placed               onto             the         elevated                designated

         checkout            counter.




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                     23.                 That            prior           to         and            on       or      about               February                22,        2018,            it      was          at        all      times         reasonably

         foreseeable                  that        if    an        item         to        be       purchased,                    such       as a container                      of    liquid              cleaning                 solution,           was        to be

         knocked            off,         pushed                  off,         and/or               to     fall     off        and        from          the      elevated             designated                       WAL-MART                          checkout

         counter           to     the        ground                  below,               that           said      item          of      merchandise                       would            be      further              caused            to     break          open

         spilling          out        its    contents                   into          the         designated                    cashier           aisles         that       said          Defendants                    direct          their       customers

         in      general         and         Plaintiff                  in     particular                   to     stand          and          wait,          while        said       items              to     be     purchased                  are        moved,

         scanned,            removed                    of       and/or             bagged                by      said          WAL-MART                         designated                     cashiers.




                     24.                 That           on        or     about                February                  22,       2018,           the         container              of         liquid          cleaning               solution,               which

         was       caused           to       be knocked                        off,         pushed               off,         and/or           to fall         off      and       from            the     elevated                  designated                WAL-

         MART              checkout                     counter                to        the        ground               below,                broke           open         and           as      a direct                 result        thereof              irritant

         and/or        caustic-like                         liquid           contents                   thereof,           splashed,                 soaked            and/or             leaked              onto         the      Plaintiff's              clothes

         and        person,              causing                  Plaintiff                 to      suffer              and       sustain              permanent,                    severe              and          diverse              injuries            to      his

         person.




                     25.                 That           on        or     about                February                  22,       2018,           the         container              of         liquid          cleaning               solution,               which

         was       caused           to       be knocked                        off,         pushed               off,         and/or           to fall         off      and      from             the     elevated                  designated                WAL-

         MART              checkout                    counter               to the           ground               below,               broke          open       and       as a direct                  result            thereof           a hard           plastic

         piece/portion                      of     said           container                       struck           Plaintiff              in      to     and          about          his         eye          area,          causing              Plaintiff              to

         suffer       and        sustain                permanent,                       severe            and          diverse           injuries             to his         person.




                     26.                 That           on        or about                February                  22,         2018,          the      acts         and      omissions                   of     their           designated                cashier,

         who        was         at all           pertinent                   times            an        agent,          servant            and/or              employee,                   of     the         above-named                       Defendants,

         jointly       and/or                severally,                      were           negligent,                   careless               and/or           reckless,                 causing               said            container              of     liquid


         cleaning           solution                   to        be knocked                       off,      pushed               off,       and/or             to fall         off        and       from             the     elevated             designated

         WAL-MART                            checkout                    counter                   to      the          ground             below              which           then              caused            the            container            of       liquid

         cleaning            solution,                  to        break            open             and/or              apart,          causing               injury          and         damage                to     Plaintiff,               without             any

         fault      or negligence                           of    the        Plaintiff              contributing                        thereto.




                     27.                 That           prior           to and/or                  as of,          on     or      about           February              22,       2018,            the         above             named          Defendants,

         jointly       and/or                severally,                      by       and          through                its     agents,              servants               and/or              employees,                       including                 without

         limitation              thereto                 said           designated                        cashiers,                 were           obligated                to       maintain,                   control,               inspect,              repair,

         service           and/or            supervise                       the      elevated                   designated                    WAL-MART                          checkout                     counters               and        cabier          aisles

         and/or,           at      all       times                were             responsible                      to          keep        said          elevated               designated                      WAL-MART                             checkout

         counters               and         cahier                aisles            in        a     safe          condition                 for         its     normal               and          intended                  use,        free       of         defect,

         dangerous               and/or                unsafe            conditions.




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                     28.             That        prior            to    and/or            as of,          on     or about              February                22,     2018,           the      above                named               Defendants,

         jointly           and/or          severally,                  by      and         through               its     agents,              servants               and/or        employees,                           including                   without

         limitation              thereto         said        designated                     cashiers,              were          obligated              to      maintain,               control,                handle,                move              and/or

         scan        and/or          bag      items          to         be     purchased                  on       said         PREMISES                       and/or,          at all         times               were           responsible                     to

         keep        said        PREMISES                    in        a safe          condition                 for      its    normal               and       intended               use,        free         of        defect,             dangerous

         and/or         unsafe          conditions                     which          would              include,             without              limitation            thereto,              a proper                   safe         said        elevated

         designated                 WAL-MART                                checkout                counters                  and       cahier           aisles,          turnstile                 or         bagging                   area,            while

         Plaintiff            was      legally          and            lawfully             attempting                   to     checkout               and       pay      for          the     items               Plaintiff              intended                to

         purchase




                     29.             That        prior         to and/or                  as of,          on     or about              February                22,     2018,           the     above-named                               Defendants,

         jointly           and/or          severally,                  by      and        through                its     agents,              servants           and/or            employees,                           were            obligated                 to

         train,       hire,       screen         and/or                supervise                 their      employees                    to      ensure         that      the          items            to    be        purchased                   on        said

         PREMISES                    would            be     properly,                    safely          and/or           securely,                 handled,            moved,                scanned,                    bagged                  and        then

         placed           onto       the      turnstile                and/or             into       the         consumer's                    shopping                cart       in     general,                   and          into         Plaintiff's

         shopping             cart     specifically.




                     30.             That         the       container                  of        liquid          cleaning               solution,                to      be      purchased                     by         the          Plaintiff              was

         negligently,                carelessly              and/or               recklessly,                   handled,               moved           and       /or      touched                  by        the     designated                      cashier

         of       above          named            Defendants,                        jointly              and/or              severally,               causing            the          container                     of      liquid                cleaning

         solution           to be moved                                 pushed             off      or     and/or             to fall         from       and/or           off     the         elevated                  designated                   WAL-
                                                           off,

         MART              checkout              counter                and       moving                 belt,         causing             the       same        to     be      precipitated                       to      the         ground             floor

         below,            breaking           open          further               causing                said      container                  of     liquid          cleaning                solution                and         a broken                     hard

         plastic        piece          of     said         container                 to     come            into        contact             with        Plaintiff's               person                as a direct                     result           of    the

         negligent,              careless             and/or                reckless             acts       and/or              omissions                of      the      above              named                 Defendants,                       jointly

         and/or           severally,             by      and           through              said          designated                   cashier           agent,          servant               and/or                employee,                      causing

         Plaintiff          to    suffer         and       sustain              injuries             to    his         person          while          he was            legally              and        lawfully                 in,     and        on        said

         PREMISES.




                     31.             That        the       above              named               Defendants,                    jointly            and/or           severally,                by        and         through                 its     agents,

         servants             and/or                                              breached                 their           non-            delegable                  duties
                                              employees,                                                                                                                                by         negligently                         maintaining,

         controlling,                inspecting,                   repairing,                    supervising                    and/or             servicing             said           PREMISES,                            as         so     set        forth

         above,         and       further         by       negligently                    failing           to warn              the     public           in    general,               and     this           Plaintiff                in particular,

         of    the      defective,               hazardous                     and/or             dangerous/unsafe                                 conditions             on       said            premises,                     of       which               said

         Defendants,                jointly           and/or            severally,                 had      actual            and/or          constructive                    notice.




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                      32.                That             for         a considerable                               period            of     time           before            Plaintiff            was       injured,             the           above       named

         Defendants,                  jointly                  and/or             severally,                      by     and          through              its         agents,        servants             and/or            employees,                   were         at

         all    times         aware             of        the         foreseeable                         conditions                  which             would              result          when         a liquid            filled         container            item

         of     merchandise                     was             caused                to        be pushed                     off,        knocked                off      and       or fall       off      of        and     from          the     designated

         elevated             checkout                     counter,                   and        at        all      times            failed           to    take           the      reasonable                  and/or          necessary                steps       to

         correct,            cure         and/or                     remedy                the        defective,                     hazardous                    and/or             dangerous/unsafe                           conditions                 at    said

         cashier            aisles.




                      33.                That            for          a considerable                              period             of     time           before            Plaintiff            was       injured,             the           above       named

         Defendants,                  jointly               and/or                severally,                      by     and         through               its         agents,        servants             and/or            employees,                   were         at

         all    times         aware             of        the         foreseeable                      conditions                     which             would              result          when         a liquid            filled         container            item

         of     merchandise                     was             caused                to        be     pushed                 off,     knocked               off          and       or fall       off      of        and     from          the     designated

         elevated             checkout                   counter                 to     the       hard            ground              surface              below,            including              the     breakage                 of    said        container

         and      the       spillage                of     said            contents,                 and          at all        times           failed           to take            the     reasonable                 and/or             necessary             steps

         to correct,               cure         and/or                remedy                the        defective,                    hazardous                   and/or            dangerous/unsafe                          conditions                 at said        at

         said      cashier            aisles.




                      34.                That            the         injuries              to        the         Plaintiff,               were         caused              without            any       fault         or     want          of    care      on       the

         part      of   said          Plaintiff,                     but        further              by      reason             of        the    negligence,                       carelessness                 and/or           reckless              disregard

         for    the     safety            of        others                 by     the       above                 named              Defendants,                       jointly        and/or            severally,               by       and/or         through

         the     acts        and/or            omissions                         of     their          respective                     officers,             agents,               servants          and/or              employees,                 in     general

         and        said           designated                         cashier               in         particular,                    in        that        with             actual           and/or             constructive                    notice           and

         knowledge                  of        the        defective,                   hazardous                      and/or           dangerous/unsafe                               conditions                 of    said       premises               as so set

         above,             they         negligently,                           carelessly                       and/or              with        reckless                  disregard              for       the         safety            of     others,          and

         without            limitation                   thereto:




                                         a)                     In failing                 to     provide                for         members                of     the       general           public,            a proper                and     safe     means


         of     paying,             purchasing                         and/or               bagging                    the       items           purchased                       located       on         the        said      PREMISES,                        more


         commonly                  known                 as referred                       to as WALMART;                                       and




                                         b)                     In    failing              to     properly                   screen,            hire,       train          and/or           supervise                it's    employees,                  officers


         and/or         servants.




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                      35.                As         a result             of      the        foregoing                   and          as    a wholly                    and       solely          as      a proximate                       result         of     the

         negligence,                    carelessness                     and/or             reckless               disregard                of        Defendants,                    jointly           and/or           severally,                 by    and/or

         through                the     acts        and/or           omissions                      of     their        respective                    officers,               agents,           servants            and/or             employees,                 in

         general                and       said         designated                      cashier               in        particular,                   Plaintiff,                has       suffered               severe              and       permanent

         injuries               including,              but        not        limited               to     injuries             of     the       integumentary                          and       musculoskeletal                            system             and

         nervous                 system,              legs,         feet,            skin           and         eye,        requiring                   medical                 care,          treatment                 and        with           pain         and

         suffering                associated                 with          said        injuries,                and       remaining                    through                present           date,        together               with       shock            and

         injury            to     the        nerves           and         nervous                 system,               causing              this        Plaintiff               to     incur          loss        of     ability           and/or             time

         from         activities               of    daily          living,            employment                        and/or            to further               incur            medical            care        related            expenses.




                      36.                As         a result             of      the       foregoing                    incident,               which             occurred               on      or      about           February              22,        2018,

         and         the        injuries             sustained                   by        the       Plaintiff,               he          has        been         rendered                sick,          sore,           lame          and         disabled;

         Plaintiff               was          required              to        seek          medical                care         and          attention;                  was          confined                to        bed      and         home,             was

         prevented                    from          attending                 his      usual             activities              and            has      permanent                     residuals              and         pain         and         suffering

         resulting               therefrom               and          has         incurred                 and/or          may            continue                to     incur          health           care       related            expenses                 and

         other        economic                  damages                  and         /or     losses             into      the        future.




                      37.                Plaintiff              is         not         seeking                   reimbursement                            for          plan           expenses                otherwise                    covered               by

         insurance,                   which          would            be       precluded                    by     and/or              subject            to      the         provisions               of     New          York            GOL           5-335,

         or    any         other         applicable                 provisions                      of New              York           State           Law         and/or             Federal            Law,           Rule         or     Regulation.


         Plaintiff's                  claim         does       not            seek         recovery                in     connection                     with          any       potential               subrogation                      rights         of     any

         plans,            individuals,                 corporations,                         insurance                  carriers               or      other           entities,              which          would            be      precluded                 by

         and/or            subject            to the         provisions                    of New                York         GOL            5-335,              or any          other          applicable                provisions                    of New


         York         State           Law        and/or            Federal                 Law,          Rule          or Regulation.




                      38.                As         a result          of       the         negligence,                   carelessness                     and/or              reckless            acts        and/or           omissions                  of    the

         Defendants,                    by      and/or          through                the          acts        and/or          omissions                   of     their         respective                 officers,            agents,            servants

         and/or             employees,                   in        general                 and           said      designated                        cashier             in      particular,                as      set        forth         above,             the

         Plaintiff               was         caused           to      suffer               injury           and         damages                  in     an        amount               which            exceeds               the      jurisdictional

         limits        of       all     lower         courts.




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                    WHEREFORE,                     the      Plaintiff,           JOHN           BUSALACHI,                   demands                Judgment            on     his     cause         of    action

         against      the     Defendants,              WALMART                    INC.,         WALMART                   INC.         F/K/A          WAL-MART                       STORES,                INC.,

         WAL-MART                  ASSOCIATES,                           INC.,       WAL-MART                         STORES                EAST,           LP,         WAL-MART                           REAL

         ESTATE             BUSINESS               TRUST,                WAL-MART                      STORES             EAST,             INC.,       and       WAL-MART                      REALTY

         COMPANY,                jointly         and/or         severally,           in     an     amount            which           exceeds          the     jurisdictional                limits          of      all

         courts     lower       than       the   Supreme            Court.




                    WHEREFORE,                     the      Plaintiff,           JOHN           BUSALACHI,                   demands                Judgment            on     his     cause         of    action

         against      the     Defendants,              WALMART                    INC.,         WALMART                   INC.         F/K/A          WAL-MART                       STORES,                INC.,

         WAL-MART                  ASSOCIATES,                           INC.,       WAL-MART                        STORES                 EAST,           LP,         WAL-MART                          REAL

         ESTATE             BUSINESS               TRUST,                WAL-MART                      STORES             EAST,             INC.,       and       WAL-MART                      REALTY

         COMPANY,                jointly         and/or         severally,           in    an     amount             which           exceeds          the    jurisdictional                 limits          of   all

         courts      lower      than       the    Supreme            Court,         jointly           and/or        severally,          for    any      and       all    damages             allowed             by

         statute     and      caselaw,           and      for     such      other         and    further        relief       as      this     Court         may         deem         just    and          proper,

         together      with      the     costs     and      disbursements                  of said        action.




         DATED:                 February          22,      2021
                                Buffalo,         New        York.


                                                                                              Josepl1Adodoro,                        Esq.
                                                                                              SPADAFORA                      & VERRASTRO
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